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                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON



                                                                      Jun 24, 2015
                                                                          SEAN F. MCAVOY, CLERK
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